18-13359-shl       Doc 905       Filed 04/12/19       Entered 04/12/19 15:48:56              Main Document
                                                     Pg 1 of 2


Steven M. Berman, Esq. (pro hac vice)                        Michael P. Richman, Esq. (Co-Counsel)
Shumaker, Loop & Kendrick, LLP                               Steinhilber Swanson LLP
101 E. Kennedy Blvd., Suite 2800                             122 W. Washington, Suite 850
Tampa, Florida 33602                                         Madison, WI 53703
Telephone: (813) 229-7600                                    Telephone: (608) 630-8990
Facsimile: (813) 229-1660                                    Facsimile: (608) 630-8991

Counsel to Mitchell Levine,
Erie Management Partners, LLC, and Plat/Co.


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )     Chapter 11
In re:                                                 )
                                                       )     Case No. 18-13359- (SHL)
MIAMI METALS I, INC., et al.,1                         )
                                                       )
                          Debtors.                     )     (Jointly Administered)


          NOTICE OF SERVICE OF FIRST REQUEST FOR PRODUCTION
            OF DOCUMENTS TO DEBTORS AND SENIOR LENDERS
    BY MITCHELL LEVINE, ERIE MANAGEMENT PARTNERS, LLC, AND PLAT/CO

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Rules 7026 and

7034 of the Federal Rules of Bankruptcy Procedure, and the Order Approving Uniform

Procedures for Resolution of Ownership Disputes [Doc. No. 395], as amended, Mitchell Levine,

Erie Management Partners, LLC, and Plat/Co, hereby give notice of service of their (i) First

Request for Production of Documents to Debtors, and (ii) First Request for Production of

Documents to Senior Lenders.
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295 Northwest
163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue,
Miami FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL
33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami
Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38th Avenue, Miami, FL 33054 (6102); 12900 NW
38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No.
55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegacion Cuauhtemoc, Mexico DF 6000 (2942).
{00023284v1 }
18-13359-shl     Doc 905    Filed 04/12/19    Entered 04/12/19 15:48:56     Main Document
                                             Pg 2 of 2



                                               Respectfully submitted,

Dated: April 12, 2019                           SHUMAKER, LOOP & KENDRICK, LLP

                                                By: /s/ Steven M. Berman
                                                Steven M. Berman, Esq.
                                                Florida Bar No.: 856290
                                                Shumaker, Loop & Kendrick, LLP
                                                101 E. Kennedy Boulevard, Suite 2800
                                                Tampa, FL 33602
                                                Phone: (813) 227-2332; Fax: (813) 229-1660
                                                Email: sberman@slk-law.com

                                                -and-

                                                STEINHILBER SWANSON LLP

                                                By: /s/ Michael P. Richman
                                                Michael P. Richman, Esq.
                                                122 W. Washington, Suite 850
                                                Madison, WI 53703
                                                PH: (608) 630-8990; FAX: (608) 630-8991

                                                Counsel to Mitchell Levine,
                                                Erie Management Partners, LLC, and Plat/Co.


                               CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that April 12, 2019, a true and correct copy of the foregoing was

served to all counsel of record, including counsel for the Debtors and counsel for the Senior

Lenders, via CM/ECF service.


                                               By: /s/ Steven M. Berman
                                                   Attorney




                                               2
{00023284v1 }
